Case 2:20-cv-03598-SVW-AS Document 46 Filed 12/29/20 Page 1 of 2 Page ID #:459


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
                           UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
14
      LEAP IMPORTS LLC, a limited               Case No. 2:20-cv-03598-SVW
15    liability company,                        (ASx)
16     Plaintiff,
17          v.                                  ORDER GRANTING JOINT
                                                STIPULATION OF DISMISSAL
18    ANKER INNOVATIONS LIMITED                 WITH PREJUDICE PURSUANT
      and DOES 1 through 10, inclusive,         TO FRCP 41(A)
19
       Defendants.
20
      ANKER INNOVATIONS LIMITED,
21
       Counterclaimant,
22
            v.
23
      LEAP IMPORTS LLC,
24
       Counter-Defendants.
25
26
27
28
                                          -1-
                                                    [[PROPOSED] Order to Granting Stipulation of Dismissal]
Case 2:20-cv-03598-SVW-AS Document 46 Filed 12/29/20 Page 2 of 2 Page ID #:460


      ANKER INNOVATIONS LIMITED,
 1
       Third Party Plaintiff,
 2
            v.
 3
      DATA PRODUCTS (HK) LTD;
 4    FARHAD NAFEIY, and ROES 1-10,
      inclusive,
 5
       Third-Party Defendants.
 6
 7
            Upon consideration of the Joint Stipulation of Dismissal filed by Plaintiff and
 8
      Counter-Defendant, Leap Imports, LLC (“Leap”), Defendant, Counter-Claimant,
 9
      and Third-Party Plaintiff, Anker Innovations Limited (“Anker”), and Defendants,
10
      Third-Party Defendants, and Counter-Claimants, Data Products (HK) Ltd., and
11
      Farhad Nafeiy (“Nafeiy/Data Products”) (Leap, Anker, and Nafeiy/Data Products,
12
      each, a “Party”), and good cause appearing therefore,
13
            IT IS HEREBY ORDERED THAT:
14
            1.      The above-entitled litigation, including all claims, counter-claims,
15
      cross-claims, and third-party claims, shall be, and hereby is, dismissed in its
16
      entirety with prejudice.
17
            2.      Each Party will bear his or its own fees and costs.
18
19
      IT IS SO ORDERED.
20
21
22    Dated:     December 29, 2020
                                                        THE HON. STEPHEN V. WILSON
23                                                       United States District Court Judge

24
25
26
27
28
                                                -2-
                                                          [[PROPOSED] Order to Granting Stipulation of Dismissal]
